8:13-cr-00314-LSC-SMB            Doc # 106       Filed: 01/28/14      Page 1 of 1 - Page ID # 166



                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                          )
                                                   )                    8:13CR314
                        Plaintiff,                 )
                                                   )
         vs.                                       )                     ORDER
                                                   )
JOHNNY MARTINEZ,                                   )
ANISHA MARTINEZ,                                   )
ANTHONY WEINRICH,                                  )
MARK PIPER, and                                    )
JACKLYNN WALKER,                                   )
                                                   )
                        Defendants.                )
         This matter is before the court on the motion for an extension of time by defendant Anthony
Weinrich (Weinrich) (Filing No. 104). Weinrich seeks an extension of thirty days in which to file
pretrial motions in accordance with the progression order (Filing No. 40). Weinrich has filed an
affidavit wherein he consents to the motion and acknowledges he understands the additional time
may be excludable time for the purposes of the Speedy Trial Act (Filing No. 105).                 Upon
consideration, the motion will be granted and the pretrial motion deadline will be extended for all
defendants in this matter.
         No further extensions of the pretrial motion deadline will be granted absent a showing
by affidavit that the denial of such an extension would constitute a manifest injustice.


         IT IS ORDERED:
         Defendant Weinrich's motion for an extension of time (Filing No. 104) is granted. ALL
DEFENDANTS are given until on or before March 3, 2014, in which to file pretrial motions pursuant
to the progression order. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendants in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between January 28, 2014, and March 3,
2014, shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendants' counsel require additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).

         DATED this 28th day of January, 2014.

                                                        BY THE COURT:

                                                        s/ Thomas D. Thalken
                                                        United States Magistrate Judge
